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                                                                     March 11, 2021


The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007
                                              Re: Tibor Kiss v. Clinton Green North, LLC, et al.
                                                   Docket No.: 17-cv-10029
Judge Schofield:



       Please accept this correspondence as the parties’ joint letter in response to this Court’s

March 1, 2021 Order. The parties have conferred and respectfully request trial by jury to begin

on September 20, September 27, or October 4, 2021.

       Thank you for your time, attention, and consideration in this matter.



Sincerely,
       /s/
Adam J. Roth
